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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF ALABAMA
                                   SOUTHERN DIVISION

JAMES R. DRINKWATER,

                Plaintiff,

v.
                                                   CASE NO. 1:12-cv-00495-WS-N
EQUIFAX INFORMATION SERVICES
LLC, EXPERIAN INFORMATION
SOLUTIONS, INC., and TRANS UNION
LLC,

                Defendants.


               JOINT STATEMENT REGARDING SETTLEMENT STATUS

        Pursuant to this Court’s Orders regarding settlement status (docs. 32, 37), the remaining

parties to this case state as follows:

        1.      This case has settled as to the remaining two defendants -- Equifax Information

Services LLC and Experian Information Solutions, Inc.             The parties are finalizing and

memorializing all terms of the settlement, and will file a joint stipulation for dismissal within the

next thirty (30) days.

                                              Respectfully submitted,


                                              /s/ James D. Patterson (by consent)
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                                             /s/ Kirkland E. Reid
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                                CERTIFICATE OF SERVICE

      I certify that on this 14th day of August, 2013, I electronically filed the foregoing, using
the CM/ECF system, which will send notification to all counsel of record.


                                             /s/ Kirkland E. Reid
                                             OF COUNSEL




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